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UNITED STATES DISTRICT COURT "YGC .
SOUTHERN DISTRICT OF NEW YORK Dey

Case 1:07-cv-02237-JSR Document117 Filed a oct Spi ts

 

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IN RE MONSTER WORLDWIDE, INC. : 07 Civ. “3337 (aSR) a
SECURITIES LITIGATION :

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JED S. RAKOFF, U.S.D.J.

On April 22, 2008, the Government moved, pursuant to Fed. R.
Civ. P. 24(a) and (b), to intervene in the above-captioned case and
for an order staying certain discovery in this action for 30 days,
with leave to seek an additional stay as appropriate within that 30
day period, i.e. by no later than May 22, 2008. Neither side to the
litigation opposed the motion to intervene (which is hereby granted)
but plaintiffs opposed the motion for a stay of certain discovery.
The Court received briefing from the parties and held oral argument
on the matter on April 25, 2008, at which time the Court, believing
it to be a close issue, reserved decision on the requested 30-day
stay.

Subseguent to oral argument, however, the Government unsealed an
indictment against James J. Treacy, former President and Chief
Operating Officer of Monster, see United States v. James J. Treacy,
08 Cr. 366, which has been assigned to the Honorable Robert L. Carter
and which is scheduled for an initial pretrial conference before
Judge Carter on May 12, 2008. In light of this development, and so
that the Court can take into consideration whatever schedule Judge
Carter sets at the May 12 conference, the Court hereby grants the
Government’s request for the stay until May 22, 2008, without,
however, thereby implying in any way whether it will grant any

further stay. If, during the intervening period, the Government
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moves for a further stay, the Court will then convene an in-court
hearing to further evaluate the motion.

SO ORDERED.

Si Lc

RAKOFF, U.S.D.d.

Dated: New York, New York
May 6, 2008
